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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                       Case No. 22-cr-0020 (TSC)

 TIM LEVON BOUGHNER,

                   Defendant.


       DEFENDANT’S CONSENT MOTION TO CONTINUE STATUS HEARING

       Defendant Tim Levon Boughner, through counsel, respectfully moves for a continuance

of the status conference scheduled for February 6, 2023, at 9:30 a.m.              We request an

approximately sixty-day adjournment of the hearing. The Government consents to the relief

sought in this Motion. In support, we proffer the following:

       1.      On Monday, January 23, 2023, we began a civil jury trial before the Honorable

Judge Puig-Lugo in the Superior Court of the District of Columbia. The trial was expected to last

three to four days. However, it lasted significantly longer than anticipated and did not conclude

until Tuesday, January 31, 2023. The trial was all-consuming, making us unavailable to prepare

for the hearing in the instant case. In addition, we have a lengthy reply brief due in a complex

civil arbitration, which is related to a criminal case pending in this Court, on Monday, February

6, 2023. Accordingly, we need additional time to review the voluminous discovery in this case

and to talk with the government about a potential pretrial resolution of the charges.

       2.      For the foregoing reasons, it is respectfully submitted that this motion should be

granted and the status hearing continued to a future date. Mr. Bougher waives the requirements

of the Speedy Trial Act for the interim time period.
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Dated: February 1, 2023             Respectfully submitted,

                                     /s/ Barry Coburn
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                                    Counsel for Defendant
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 1st day of February, 2023, I caused the foregoing to be filed

with the Court’s electronic filing system (CM/ECF), which will serve copies upon all counsel of

record.



                                                        /s/ Barry Coburn
                                                        Barry Coburn
